Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 1 of 17                   PageID 271




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION

                                                     )
 DONAL M. MCDONAGH, and                              )
 MICHELE R. MCDONAGH                                 )
                                                     )
        Plaintiffs,                                  )
                                                     )
 v.                                                  )        No. 2:20-cv-02539-JMP-cgc
                                                     )
 SCIG SERIES III TRUST,                              )
 SN SERVICING CORPORATION,                           )
 U.S. BANK TRUST NATIONAL                            )
 ASSOCIATION and                                     )
 EDWARD RUSSELL, Substitute Trustee,                 )
                                                     )
        Defendants.                                  )


                      PLAINTIFFS’ BRIEF IN SUPPORT OF RESPONSE
                         TO DEFENDANTS’ MOTION TO DISMISS


 TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW, Plaintiffs Donal M. McDonagh and Michele R. McDonagh (hereinafter

 collectively referred to as “Plaintiffs” or the “McDonaghs”) and hereby submit their Brief in

 Support of Response to SN Servicing Corporation (“SN Servicing”) and U.S. Bank Trust National

 Association’s (“U.S. Bank”) (hereinafter collectively referred to as the “Defendants”) Motion to

 Dismiss, and for cause of action would respectfully show the Court as follows:

                                     I.      INTRODUCTION

        1.      The McDonaghs’ claims stem from Defendants’ actions and omissions as lender

 and servicer of the McDonaghs’ loan for their home located at 2416 Sanders Ridge,

 Germantown, Tennessee 38138 (the “Property”). The McDonaghs financed the purchase of the



 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                     1
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 2 of 17                                  PageID 272




 Property with a loan obtained by Trust One Bank (“Trust One”) in the amount of $700,000 on

 August 29, 2007 (“Loan”) and secured by a Deed of Trust (“DOT”).

         2.       On July 20, 2012, the McDonaghs jointly filed a Chapter 13 Bankruptcy filing in

 the United States Bankruptcy Court in the Western District of Tennessee which listed the Loan

 and DOT. The Bankruptcy was successfully performed by the McDonaghs and discharged on

 July 13, 2018. During that time, the DOT was assigned three (3) separate times, ultimately being

 assigned to U.S. Bank as trustee for the SCIG Trust on or about April 16, 2018. Upon

 information and belief, SN Servicing immediately began servicing the Loan on behalf of U.S.

 Bank.


         3.       On June 24, 2020, the McDonaghs filed their First Verified Complaint (“Complaint”),

 together with their Fiat issuing a Temporary Restraining Order, against Defendants in Part II of the

 Chancery Court of Tennessee for the Thirtieth Judicial District at Memphis—asserting breach of contract,

 breach of the covenant of good faith and fair dealing, violations of the Fair Debt Collections Act

 (“FDCA”), violations of the Tennessee Consumer Protection Act (“TCPA”), violations of 12 U.S.C.

 §2601, and to enjoin foreclosure sale. The McDonaghs also sought that a jury be empaneled to act as

 finder of fact, the court issue a Notice of Lien Lis Pendens, and that they be awarded such other and

 further relief for which they are entitled.


         4.       Defendants removed this case to this Court on July 24, 2020, and filed their Motion to

 Dismiss (“Motion”) on August 14, 2020.


         5.       The Court should deny Defendants’ Motion because the McDonaghs alleged facts

 “sufficient to state a claim to relief that is plausible on its face.” Majestic Bldg. Maint., Inc. v. Huntington




 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                      2
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 3 of 17                                 PageID 273



 Bancshares Inc., 864 F.3d 455, 458 (6th Cir. 2017) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

 (2007)).


                                       II. STANDARD OF REVIEW


            6.    Motion to dismiss under Fed. R. Civ. P. 12(b)(6) (“Rule 12(b)(6)”) are disfavored and

 rarely granted. Harris v. Am., 198 F.3d 245 (6th Cir. 1999) (unpublished) (citing Conley v. Gibson, 355

 U.S. 41, 45-46 (1957)); see also S. Christian Leadership Conference v. Supreme Court, 252 F.3d 781, 786

 (5th Cir. 2001); Lone Star Indus., Inc. v. Horman Family Trust, 960 F.2d 917, 920 (10th Cir. 1992); Hall

 v. City of Santa Barbara, 833 F.2d 1270, 1274 (9th Cir. 1986).


            7.    A motion to dismiss under Rule 12(b)(6) does not present the issue of whether a plaintiff

 will ultimately prevail but whether the plaintiff is entitled to offer evidence in support of the claims.

 Scheuer v. Rhodes, 416 U.S. 232, 236 (1974). “Indeed it may appear on the face of the pleadings that a

 recovery is very remote and unlikely, but that is not the test.” Id. Rather, “a complaint should not be

 dismissed for failure to state a claim unless it appears beyond doubt that the plaintiff can prove no set of

 facts in support of his claim which would entitle him to relief.” Gibson, 355 U.S. at 45-46.


            8.    To survive a motion to dismiss, Plaintiffs must allege enough facts “to state a claim to

 relief that that is plausible on its face.” Twombly, 550 U.S. 544, 570.


            9.    “A claim has facial plausibility when the plaintiff pleads factual content that allows the

 court to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft

 v. Iqbal, 556 U.S. 662, 678 (2009).


            10.   Furthermore, the pleading standard announced by Fed. R. Civ. P. 8 does not require

 “detailed factual allegations”; rather, it only demands that the pleading be more than “labels and

 conclusions.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).

 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                     3
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 4 of 17                                 PageID 274



         11.      “In reviewing the allegations, this Court construes the complaint in a light most favorable

 to the plaintiff, accepting all of the factual allegations as true and determines whether the plaintiff can

 prove no set of facts in support of his claims that would entitle him to relief.” Arrow v. Fed. Reserve Bank

 of St. Louis, 358 F.3d 392, 393 (6th Cir. 2004).


         12.      In other words, a complaint need not set forth all the facts upon which a claim is based;

 rather, a short and plain statement of the claim is sufficient if it gives the defendant fair notice of what

 the claim is and the grounds upon which it rests. Twombly, 550 U.S. at 545.


                                      III. ARGUMENT AND AUTHORITIES

         13.      Defendants insist that the McDonaghs’ claims are not based on any factual allegations,

 but a closer look at the Complaint shows the McDonaghs pleaded enough facts to establish claims that are

 plausible in their face. See infra ARGUMENT A-E.

         A.       THE COURT SHOULD DENY DEFENDANTS’ MOTION BECAUSE THE
                  MCDONAGHS’ PETITION FOR A PERMANENT INJUNCTION IS NOT MOOT

         14.      The doctrine of mootness then “requires that there be a live case or controversy at the

 time that a federal court decides the case.” Sullivan v. Benningfield, 920 F.3d 401, 407 (6th Cir. 2019)

 (quoting Burke v. Barnes, 479 U.S. 361, 363 (1987).

         15.      Ultimately, the “test for mootness is whether the relief sought would, if granted, make a

 difference to the legal interests of the parties.” Sullivan, 920 F.3d at 410 (quoting McPherson v. Mich.

 High Sch. Athletic Ass’n, Inc., 119 F.3d 453, 458 (6th Cir.1997) (en banc) (internal quotations and

 citations omitted)). “The heavy burden of demonstrating mootness rests on the party claiming mootness.”

 Cleveland Branch, N.A.A.C.P. v. City of Parma, 263 F.3d 513, 531 (6th Cir. 2001).

         16.      Defendants insist that the McDonaghs’ petition for an injunction to enjoin foreclosure of

 the Property is moot as the original scheduled date for the foreclosure sale, June 24, 2020 passed without

 the foreclosure sale occurring. The McDonaughs requested a permanent injunction to exceed beyond June



 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                      4
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 5 of 17                                PageID 275



 24, 2020 based on their factual allegations of Defendants’ wrongful acts and related claims. The parties

 positions have not changed; under Tennessee law and pursuant to the DOT, Defendants can initiate a non-

 judicial foreclosure sale of the Property at any time absent judicial intervention.

         17.        Additionally, Defendants claim that their voluntary act of not rescheduling the non-

 judicial foreclosure makes the McDonaghs’ petition to prevent them from doing so moot. However,

 voluntary cessation of a challenged practice only moots a case in the “rare instance” where “subsequent

 events make it absolutely clear that the allegedly wrongful behavior cannot reasonably be expected to

 recur and ‘interim relief or events have completely and irrevocably eradicated the effects of the alleged

 violation.’” League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 473 (6th Cir. 2008); Cleveland

 Branch, N.A.A.C.P., 263 F.3d at 530–31. As with mootness in general, Defendants bear a “heavy” burden

 to demonstrate mootness in the context of voluntary cessation. Akers v. McGinnis, 352 F.3d 1030, 1035

 (6th Cir. 2003).

         18.        The Temporary Restraining Order granted by the Chancery Court preventing the

 foreclosure sale of the Property is no longer in effect due to the disposition of the matter in that court and

 removal to federal court, and the Defendants propose that they have voluntarily refrained from proceeding

 with non-judicial foreclosure sale of the Property. While the date set by trustee for the original foreclosure

 sale has passed, Tennessee allows non-judicial foreclosure and nothing, absent an order of this Court,

 would prevent Defendants from resetting the foreclosure sale date and selling the Property. Without

 adjudication on the McDonaghs’ petition for injunction and other claims of Defendant’s wrongful

 conduct, there is absolutely no reason to believe Defendants’ will not proceed with the non-judicial

 foreclosure sale.

         19.        An exception to mootness applies when a challenged action is “capable of repetition yet

 evading review.” Wilson v. Gordon, 822 F.3d 934, 945 (6th Cir. 2016). For this exception to apply, “a

 challenged action must satisfy two requirements. First, it must be too short in duration to be fully litigated

 before it ceases. Second, there must be a reasonable expectation that the same parties will be subjected to


 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                        5
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 6 of 17                                 PageID 276



 the same action again.” Appalachian Reg'l Healthcare, Inc. v. Coventry Health & Life Ins. Co., 714 F.3d

 424, 430 (6th Cir. 2013).

         20.      In the current matter, the non-judicial foreclosure sale date of June 24, 2020 was

 scheduled on the exact same day that the Chancery Court granted a Temporary Restraining Order staying

 the sale. In the Complaint, the McDonaghs pray for a permanent injunction from further publishing or

 undertaking any efforts toward foreclosure on the Property pursuant to the DOT. Mere hours between the

 scheduled sale and issuance of the Temporary Restraining Order was not a sufficient amount of time for

 the McDonaghs’ request for permanent injunction to be fully adjudicated based on the facts alleged in the

 Complaint. Further, if not enjoined by this Court, there is little doubt that Defendants will not carry out

 the non-judicial foreclosure sale, depriving Plaintiff of its rights.

         21.      Viewing the facts in the light most favorable to the McDonaghs, this Court should deny

 Defendants’ Motion.

         B.       THE COURT SHOULD DENY DEFENDANTS’ MOTION BECAUSE THE
                  MCDONAGHS’ BREACH OF CONTRACT CLAIM AND BREACH OF
                  COVENANT OF GOOD FAITH AND FAIR DEALING CLAIM ARE
                  PLAUSIBLE ON THEIR FACE, AND THUS THE MCDONAGHS ARE
                  ENTITLED TO RELIEF.

         22.      Defendants’ first theory is that the McDonaghs cannot successfully assert a breach of

 contract claim against SN Servicing because “the McDonaghs has (sic) not alleged that any contract

 exists with SN Servicing.” However, U.S. Bank is a party to the Loan and DOT as the lender by

 assignment, and SN Servicing is in contract with U.S. Bank to service the McDonaghs’ Loan.

 Furthermore, the McDonaghs, as borrowers, can pursue a breach of contract claim against SN Servicing

 as their loan servicer. See Ford v. Specialized Loan Servicing, LLC, No. 2:16-CV-02414-JPM-TMP, 2018

 WL 2363576, at *10 (W.D. Tenn. Mar. 5, 2018) (allowing a borrower to pursue a breach of contract

 claim against a loan servicer by denying the loan servicer’s Rule 12(b)(6) motion to dismiss for failure to

 state a claim). While SN Servicing is not on the note or the DOT, SN Servicing is an assignee of the note,

 just like the securitization trust, and that provides the privity needed for a breach of contract action.


 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                     6
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 7 of 17                                PageID 277



         23.      Defendants then try to sidestep their complete disregard for the DOT by arguing the

 McDonaghs “failed in multiple respects to plead a proper cause of action against U.S. Bank.”

         24.      Defendants first assert that the McDonaghs failed to reference specific sections or attach

 the DOT to the Complaint, and Defendants include the DOT as Exhibit A to their Motion. Pursuant to

 Rule of Civil Procedure 12(d), "[a]ll parties must be given a reasonable opportunity to present all the

 material that is pertinent to the motion." Fed. R. Civ. P. 12(d). In analyzing a Rule 12(b)(6) motion to

 dismiss, "a court may consider exhibits attached [to the complaint]" including "exhibits attached to

 defendant's motion to dismiss so long as they are referred to in the complaint and are central to the claims

 therein." Rondigo, L.L.C. v. Twp. of Richmond, 641 F.3d 673, 680-81 (6th Cir. 2011) (alteration in

 original) (quoting Bassett v. Nat'l Collegiate Athletic Ass'n, 528 F.3d 426, 430 (6th Cir. 2008)) (internal

 quotation marks omitted). This Court has found that where a Defendant has attached the operative

 contract in a breach of contract case to its Motion to Dismiss, it can easily be inferred that references to

 said contract in plaintiff’s complaint are references to that document and central to plaintiff’s breach of

 contract claim, and the Court may consider the contract properly before the court and consider it in

 analyzing Defendants’ Motion to Dismiss. See LeBlanc v. Bank of Am., N.A., No. 2:13-CV-02001-JPM-

 TMP, 2013 WL 3146829, at *21-22 (W.D. Tenn. Jun. 18, 2013).

         25.      Defendants next attempt to discredit the McDonaghs’ breach of contract pleading by

 representing that the McDonaghs do not plead facts that are very clearly in the Complaint. Defendants

 incorrectly state that the entirety of the McDonaghs’ breach of contract claim is contained in paragraphs

 40 and 41 of the Complaint, completely ignoring the first paragraph under the breach of contract header in

 the Complaint, paragraph 39. Paragraph 39 of the Complaint is as follows: “Plaintiffs hereby incorporate

 and adopts paragraph 1-38 as if herein copied verbatim.” This language encompasses and adopts the

 preceding 12 pages of the Complaint whereby the McDonaghs detail the acts and abuses of the

 Defendants, including a monthly payment increase without cause and the implementation of arbitrary fees

 and charges which were billed by the Defendants, who admittedly had no knowledge themselves as to


 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                      7
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 8 of 17                              PageID 278



 what the charges and fees represented both at the time they were billed and up to the filing of the

 Complaint.

         26.     The essential elements of a breach of contract claim under Tennessee law include

 (1) the existence of a contract, (2) breach of the contract, and (3) damages which flow from the breach.

 Life Care Ctrs. of Am. v. Charles Town Assocs. Ltd. P’ship, 79 F.3d 496, 514 (6th Cir. 1996).

         27.     The Complaint was clear: the McDonaghs paid the agreed to mortgage payments timely

 and in full during the pendency of their Chapter 13 bankruptcy plan from July 2012 to July 2018. During

 the pendency of the bankruptcy, in April 2018, SN Servicing on behalf of U.S. Bank began sending debt

 collection notices to Plaintiffs. However, the DOT was not assigned to U.S. Bank until at least September

 21, 2018, although it was represented to the Bankruptcy Court and Defendants to have occurred prior to

 the discharge of the bankruptcy. Immediately following the discharge of the bankruptcy, in July 2018,

 Defendants began to demand a monthly payment that exceeded the amount agreed to in the contract, or

 any modification thereof, without any accounting or reasoning whatsoever in violation of the DOT;

 refused to accept the McDonaghs monthly payments without any cause or explanation in violation of the

 DOT; and failed to break down additional fees charged to the McDonaghs, including the increased

 monthly payments, while admitting that they did not have the information from a prior servicer of the

 Loan necessary to even break down, much less assess, the fees owed.

         28.     Tennessee law imposes a duty of good faith and fair dealing in the performance of every

 contract. Hometown Folks, LLC v. S&B Wilson, Inc., 2011 WL 2566825 at *4 (6th Cir. 2011); see, e.g.,

 Lamar Adver. Co. v. By–Pass Partners, 313 S.W.3d 779, 791 (Tenn. Ct. App. 2009). The purpose of this

 implied covenant is: “(1) to honor the reasonable expectations of the contracting parties and (2) to protect

 the rights of the parties to receive the benefits of the agreement into which they entered.” Lamar Adver.

 Co., 313 S.W.3d 791. The duty of good faith and fair dealing requires parties to a contract to conduct

 themselves fairly and responsibly. S&B Wilson, Inc., 2011 WL 2566825 at *6; see, e.g., Winfree v.

 Educators Credit Union, 900 S.W.2d 285, 289 (Tenn.Ct.App.1995) ( “[T]here is an implied undertaking


 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                   8
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 9 of 17                                  PageID 279



 in every contract on the part of each party that he will not intentionally or purposely do anything ... which

 will have the effect of destroying or injuring the right of the other party to receive the fruits of the

 contract.” (internal quotation marks and citation omitted)). Parties have a duty of good faith and fair

 dealing not only in executing the transaction ultimately contemplated by the contract, but also in fulfilling

 the preconditions and contingencies set forth in the contract. Id. Because the nature of the duty of good

 faith and fair dealing depends on the contract at issue, “courts look to the language of the instrument and

 to the intention of the parties, and impose a construction which is fair and reasonable.” TSC Indus., Inc. v.

 Tomlin, 743 S.W.2d 169, 173 (Tenn.Ct.App.1987).

         29.      In S&B Wilson, Inc., the 6th Circuit Court of Appeals found, under an admittedly

 deferential standard of review similar to that of a 12(b)(6) motion, that where a party had the right under a

 contract to terminate an agreement and did so accordingly, that same party could have breached the duty

 of good faith and fair dealing absent a separate breach of the contract and affirmed that a reasonable jury

 could have found as much. S&B Wilson, Inc., 2011 WL 2566825 at *6-7.

         30.      Defendants’ assertion that there cannot be a successful action for breach of an implied

 covenant of good faith and fair dealing in a contract without a corresponding breach of contract claim

 under Tennessee law is incorrect as the 6th Circuit has precisely found the opposite in S&B Wilson, Inc

 where a contract was found to have been properly terminated by a party and that same party was found to

 have breached the implied covenant of good faith and fair dealing in said contract. S&B Wilson, Inc.,

 2011 WL 2566825 at *6-7. Plaintiffs asserted in their Complaint that Defendants impeded their rights

 under the DOT by unjustifiably increasing monthly payments and failing to address in any way or account

 for misapplication of funds and improper and unfounded charges. These acts, when seen in a light most

 favorable to the McDonaghs as is the Rule 12(b)(6) standard, amount to a breach of the implied covenant

 of good faith and fair dealing because the Defendants acts breached express duties under the DOT, any

 modification thereof, and the Note establishing the amount of the McDonaghs’ payments. Based on the




 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                     9
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 10 of 17                               PageID 280



 facts alleged and Tennessee law, it is not beyond doubt that the plaintiff could prove a set of facts in

 support of the claim that would entitle them to relief.

         31.      Viewing the facts in the light most favorable to the McDonaghs, this Court should deny

 Defendants’ Motion.

         C.       THE COURT SHOULD DENY DEFENDANTS’ MOTION BECAUSE THE
                  MCDONAGHS’ CLAIM UNDER THE FDCPA IS PLAUSIBLE ON ITS FACE,
                  AND THUS THE MCDONAGHS ARE ENTITLED TO RELIEF.

         32.      In construing the definition of “debt collector” under 15 U.S.C. § 1692a(6), the Sixth

 Circuit has found that a debt collector "includes any non-originating debt holder that . . . acquired a debt

 in default." Bridge v. Ocwen Fed. Bank, FSB, 681 F.3d 355, 362 (6th Cir. 2012). It has further found that

 under the FDCPA, “debt collector” also includes the enforcement of security interests, finding that the

 term liberally applies even to those only engaged in repossession activities under a lien, “[15 U.S.C. §

 1692a(6)] applies to those whose only role in the debt collection process is the enforcement of a security

 interest.” Glazer v. Chase Home Finance LLC, 704 F.3d 453, 464 (6th Cir. 2013) (quoting Wilson v.

 Draper & Goldberg, P.L.L.C., 443 F.3d 373, 378 (4th Cir. 2006)). In the Complaint, the McDonaghs

 plead that Defendants came to hold and service the McDonaghs debt while the McDonaghs were

 performing under a Chapter 13 Bankruptcy plan and that the DOT is the operative document as to the

 agreement. By the terms of the DOT, the McDonaghs were in default merely by filing for Chapter 13

 Bankruptcy protection.

         33.      Defendants contend that the McDonaghs make conclusory statements regarding the status

 of SN Servicing as a “third party debt collector” or U.S. Bank being engaged in “debt collection efforts;”

 however, the McDonaghs, in addition to specifically labeling the Defendants as debt collectors, assert in

 the Complaint that the Defendants performed particular actions that made them debt collectors under the

 statute, that they acquired the collection interests and servicing rights to the Loan and DOT while the

 McDonaghs were in bankruptcy, thus in default, and attempted to collect the debt by demanding payment

 via phone, email, and mail. Where the allegations in a FDCPA claim specifically state that defendant


 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                  10
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 11 of 17                               PageID 281



 performed a particular action, those statements are not conclusory. See Pearson v. Specialized Loan

 Servicing, LLC, No. 1:16-CV-318, 2017 WL 3158791, at *4 (E.D. Tenn. July 24, 2017); see also Riley v.

 Kurtz, 893 F. Supp. 709, 721 (E.D. Mich. 1995). The facts pled by the McDonaghs regarding Defendants

 acts meet the statutory definition of a “debt collector.”

         34.      Next, the Defendants argument that the McDonaghs failed to state false, deceptive, or

 misleading statements under 15 U.S.C. § 1692(e) because the Complaint does not state that U.S. Bank

 didn’t hold the underlying promissory note to the mortgage does not address every allegation of false,

 deceptive, or misleading statement plead by the McDonaghs and misinterprets the one allegation it

 attempts to negate.

         35.      Under the FDCPA, false or misleading representations include: false representation of

 the character, amount, or legal status of any debt as well as the use of any false representation or

 deceptive means to collect or attempt to collect any debt or to obtain information concerning a consumer.

 15 U.S.C. § 1692(e)(2)(A), 1692(e)(10).

         36.      The McDonaghs specifically allege several times in the Complaint that the Defendants

 increased monthly payment amounts without reason and attempted to collect that amount. In Exhibit IX

 of the Complaint, the McDonaghs show communications made to Defendants whereby they provide

 calculations showing how the Defendants increased payment amount was incorrect. The McDonaghs

 allege in the Complaint that despite numerous requests of the Defendants to clarify the monthly payment

 amounts, they were rebuffed each time, and the McDonaghs attach several exhibits of communications

 with the Defendants evidencing the same. The McDonaghs clearly assert that the Defendants made false

 representations of the amount of the debt, and that Defendants continued to attempt collect that amount

 when questioned even after the Defendants’ representative confirmed that they did not know the correct

 amount stating “[d]ue to unfortunate circumstances I do not have the breakdown of the fees at this time to

 send you. We are having to work with the previous servicing companies to get some documentation.”

 These pleaded false representations alone are enough to state a claim under the FDCPA.


 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                 11
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 12 of 17                              PageID 282



         37.     The McDonaghs also plead in the Complaint that the Defendants, in attempts to collect

 the debt, falsely represented both to them and the U.S. Bankruptcy Court that the debt had been

 transferred to the Defendants when it in fact had not been transferred. The Complaint provides that the

 assignment of the DOT occurred months after the Defendants represented to the Bankruptcy Court and to

 the McDonaghs that they were collecting the debt and enforcing the mortgage lien. The Defendants

 contend that their deceptive and false communication does not explicitly state that the assignment was

 executed, but that the “Loan was transferred to U.S. Bank and SN Servicing is the new servicer” and that

 assignments of a deed of trust are not required with the transfer of a note. However, Defendants do not

 assert or provide any documentation showing that any conveyance or transfer of the promissory note

 occurred prior to their April 2018 representation of such to the Bankruptcy Court and the McDonaghs or

 at all. Construing the Complaint in a light most favorable to the McDonaghs and accepting the factual

 allegation that Defendants April 2018 was false as alleged, the court must find that the McDonaghs can

 prove a set of facts in support of their FDCPA claim that would entitle them to relief.

         38.     Defendants claim that their communication sent to the Bankruptcy Court and the

 McDonaghs on April 18, 2018 was not a communication to collect a debt, thus cannot be the initial

 communication as asserted in the Complaint and be used to adjudge whether the McDonaghs met the

 thirty day response requirement of 15 U.S.C. § 1692g(b). However, the second page of the April 18, 2018

 communication, as included in the Complaint as Exhibit II, states “SN Servicing Corporation is

 attempting to collect a debt.” The McDonaghs allege that they began requesting complete accountings of

 the alleged debt in May 2018. Viewing those facts in a light most favorable to the McDonaghs, the

 McDonaghs plead a set of facts whereby they meet the timing requirements of 15 U.S.C. § 1692g(b).

         39.     The Defendants then claim that the SN Response, dated January 8, 2019, suffices as

 verification of the debt under 15 U.S.C. § 1692g(b). However, in between April 2018 and January 2019,

 Defendants did not cease their attempts to collect the debt while collecting information for the verification

 in violation of the statute, refused to accept payments from the McDonaghs during that time, and the


 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                 12
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 13 of 17                                 PageID 283



 monthly payment amount that Defendants list on the payoff statement, while stating an incorrect due date

 of January 1 is the amount that the McDonaghs had been asserting was correct for months, $5.992.45

 instead of the $6,201.79 monthly payment demanded since July 2018. “The verification provision must be

 interpreted to provide the consumer with notice of how and when the debt was originally incurred or other

 sufficient notice from which the consumer could sufficiently dispute the payment obligation.” Haddad v.

 Alexander, Zelmanski, Danner & Fioritto, PLLC, 758 F.3d 777, 785-86 (6th Cit. 2014). When the dispute

 is as to the calculation of monthly payments, and the verification fails to address the calculation, it is not

 enough information to sufficiently dispute the payment obligation. In this instance, not only are the

 calculations not provided, the alleged verification states the monthly payment as being due two years

 prior for the same amount claimed by the McDonaghs all along.

         40.      Defendants’ argument that a statutory cap of $1,000 applies if there is a finding of an

 FDCPA violation is not proper for a Rule 12(b)(6) motion to dismiss as the Motion to Dismiss does not

 put at issue whether a plaintiff will ultimately prevail. Nonetheless, in the Complaint, the McDonaghs

 plead for both actual and statutory damages pursuant to the FDCPA based on the allegations as stated

 above, and Defendants’ argument fails to acknowledge the entirety of the statute. 15 U.S.C. § 1692k(a)(1)

 provides for “any actual damages sustained by such person as a result of such failure.” The McDonaghs

 expressly state in their Complaint that the current suit was necessitated to stop foreclosure based upon

 Defendants FDCPA violation and that they have incurred ongoing damages due to those acts, the largest

 of which are legal fees and costs. Defendants also fail to acknowledge that 15 U.S.C. § 1692k(a)(3)

 provides for the recovery of “the costs of the action, together with a reasonable attorney’s fee as

 determined.”

         41.      Viewing the facts in the light most favorable to the McDonaghs, this Court should deny

 Defendants’ Motion.

         D.       THE COURT SHOULD DENY DEFENDANTS’ MOTION BECAUSE THE
                  MCDONAGHS’ CLAIM UNDER THE TCPA IS PLAUSIBLE ON ITS FACE,
                  AND THUS THE MCDONAGHS ARE ENTITLED TO RELIEF.


 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                    13
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 14 of 17                             PageID 284




         42.      The Defendants claim that the McDonaghs’ TCPA claim does not apply to this matter

 because, “the TCPA does not apply to allegedly deceptive conduct in foreclosure proceedings” and then

 fail to address the misrepresentation and deceptive act central to the McDonaghs’ Complaint: the

 unilateral increase of the incorrect monthly payment amount and disregard for uncovering the actual

 calculation of that amount. Defendants’ attempts to collect the incorrect monthly payment amount with

 willful indifference to correcting the error and knowing misrepresentations to the McDonaghs and the

 Bankruptcy Court regarding their status as rightful owner of the Loan and DOT are overt acts of

 deception by the Defendants pleaded with specificity in the McDonaghs’ Complaint.

         43.      The allegedly “well established” principle annunciated by the Defendants that the TCPA

 does not apply to allegedly deceptive conduct in foreclosure proceedings is a narrow holding from a

 matter that is wholly different from the facts alleged by the McDonaghs in the Complaint. In Jones v.

 BAC Home Loans Servicing, LP, No. W2016-00717-COA-R3-CV, 2017 WL 2972218, at *8 (Tenn. Ct.

 App. July 12, 2017), the TCPA claim was “predicated on the fact that foreclosure took place despite the

 alleged promise to forbear made by [defendant’s] representative.” The McDonaghs do not allege a TCPA

 violation in the foreclosure proceedings, but rather the deceptive and knowingly false acts of the

 Defendants prior to any foreclosure attempt. Rather than claiming an oral promise as the deceptive act in

 their Complaint, the McDonaghs plead that the Defendants made false and deceptive statements in filings

 to the Bankruptcy Court as well as in attempts to collect a knowingly false amount from the McDonaghs,

 which they still have not been able to explain to this day. The McDonaghs allege that they have suffered

 ongoing economic damages resulting from the Defendant’s deceptions, including the legal costs and fees

 associated with protecting their interest in their real property.

         44.      Viewing the facts in the light most favorable to the McDonaghs, this Court should deny

 Defendants’ Motion.




 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                               14
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 15 of 17                             PageID 285



          E.     THE COURT SHOULD DENY DEFENDANTS’ MOTION BECAUSE THE
                 MCDONAGHS’ CLAIM UNDER RESPA IS PLAUSIBLE ON ITS FACE, AND
                 THUS THE MCDONAGHS ARE ENTITLED TO RELIEF.

          45.    Defendants’ proposition that their failure to respond to the McDonaghs’ Notices of Error

 and Qualified Written Request (“QWR”) is not a violation of 12 U.S.C. § 2605(e) because the QWR was

 not sent to their designated QWR address must fail because SN Servicing involved counsel prior to

 sending the QWR.

          46.    The McDonaghs’ June 17, 2019 letter, September 24, 2019 letter, and December 3, 2019

 letter (the “Letters”), all included as Exhibit IX in the Complaint, each qualify as a QWR. “RESPA does

 not require any magic language before a servicer must construe a written communication from a borrower

 as a qualified written request and respond accordingly.” Catalan v. GMAC Mortg. Corp., 629 F.3d 676,

 687 (7th Cir. 2011). The Letters were written correspondences on a medium not supplied by the servicer,

 which included the name and account of the borrower, and sufficiently detailed for the servicer distinct

 types of information sought in its numbered paragraphs, which satisfies pleading requirements under

 RESPA concerning QWR’s. See Hittle v. Residential Funding Corp., Case No. 2:13-cv-353, 2014 WL

 3845802, at *5 (S.D. Ohio Aug. 5, 2014). Additionally, each letter concerns fraud or mistake with regards

 to the past due amount, which, accordingly, concerns the servicing of the loan. Cf. Medrano v. Flagstar

 Bank, FSB, 704 F.3d 661, 667 (9th Cir. 2012). Further, the McDonaghs have pleaded that they have yet to

 receive a satisfactory response by the Defendants to the QWR issues, and Defendants have not disputed

 this fact.

          47.    Any argument that the QWR was improperly sent to the wrong address for SN Servicing

 must fail because SN Servicing had engaged an attorney to represent them in the matter; therefore, the

 QWR’s were properly sent to SN Servicing’s counsel. The McDonaghs plead, and include as Exhibit VIII

 in the Complaint, that on January 8, 2019, SN Servicing contacted the McDonaghs via their counsel,

 William Fogelman (“SN Counsel”). The Letters were all sent to SN Counsel after he identified himself as

 the attorney for SN Servicing and had been engaged with the McDonaghs concerning the issues. As SN


 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                                  15
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 16 of 17                           PageID 286



 Counsel held himself out to be the proper contact regarding the McDonagh’s issues with the monthly

 payment amounts and lack of information about the alleged debt, it would be inequitable to find that SN

 Counsel could not receive the QWR in this circumstance.

           48.    Defendants’ argument regarding statutory damages for RESPA violations is improper for

 a Rule 12(b)(6) motion as it does not question whether damages are properly pleaded in the Complaint,

 but prematurely argues the amount of damages that should be awarded to the McDonaghs. Therefore, the

 question of appropriate damages under RESPA should be reserved for trial.

           49.    Viewing the facts in the light most favorable to the McDonaghs, this Court should deny

 Defendants’ Motion.

                                               IV. CONCLUSION

           For the foregoing reasons, Plaintiffs Donal M. McDonagh and Michele R. McDonagh

 respectfully request that Defendants SN Servicing and U.S. Bank’s Motions to Dismiss be

 denied.

           Dated: August 31, 2020



                                                  Respectfully Submitted,

                                                  /s/ Derek E. Whitlock______
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 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                               16
 McDonagh
Case 2:20-cv-02539-JPM-cgc Document 23 Filed 09/10/20 Page 17 of 17                     PageID 287




                                      CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2020, a true and correct copy of the foregoing
 document has been mailed U.S. Post to the following:

 SCIG Series III Trust                                          U.S Bank Trust National Association
 C/O – Trustee - U.S Bank Trust National Association            300 East Delaware Avenue, 8thFloor
 300 East Delaware Avenue, 8th Floor                            Wilmington, Delaware 19801
 Wilmington, Delaware 19801

 SN Servicing Corporation
 C/O - Registered Agent -The Prentice-Hall Corporation System, Inc.
 2908 Poston Avenue
 Nashville, Tennessee 37203-1312.

 Edward D. Russell, Esq, - Substitute Trustee
 8 Cadillac Dr., Ste. 120, Creekside Crossing III
 Brentwood, TN 37027


                                                /s/ Derek E. Whitlock
                                                Counsel for Plaintiffs




 Plaintiffs’ Brief in Support of Response to Defendants’ Motion to Dismiss                       17
 McDonagh
